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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION


GARY and KELLY PIVONEY,                          Case No.: 4:18-cv-02022
               Plaintiffs,
V.
                                                 NOTICE OF REMOVAL
AARGON AGENCY, INC.
Serve at:
Cogency Global Inc.                              JURY TRIAL DEMANDED (by Plaintiff)
9666 Olive Boulevard, Suite 690
St. Louis, MO 63132
               Defendant.



                                    NOTICE OF REMOVAL

        Defendant, Aargon Agency, Inc. (“Aargon Agency”), pursuant to 28 U.S.C. § 1446,
provides notice that it removes this action to this Court from the Circuit Court of St. Louis
County, Missouri. Aargon Agency states the following grounds for removal:

        1.     On October 10, 2018, Plaintiff GARY PIVONEY AND KELLY PIVONEY
(“Plaintiff”) filed a civil action in the St. Louis County Associate Court, entitled GARY
PIVONEY and KELLY PIVONEY v. AARGON AGENCY, INC., Case No. 18SL-AC29755. A
true and correct copy of Plaintiff’s Complaint is attached hereto as Exhibit A.
        2.     Plaintiff’s Complaint was served on Defendant by Agent for Service on
November 13, 2018.
        3.     Therefore this Notice of Removal is timely filed pursuant to 28 U.S.C. § 1446(b)
within the 30-day removal period.
        4.     There are no other Defendants named in Plaintiff’s Complaint.
        5.     This action involves a federal question in that it arises under the Fair Debt
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Collection Practices Act (15 U.S.C. § 1692, et seq.) (the “FDCPA”) and the Credit Repair
Organization Act (15 U.S.C. § 1679) (the “CROA”). It is therefore an action of which this Court
has original jurisdiction under 28 U.S.C. § 1331 and may be removed to this Court by Defendant
pursuant to the provisions of 28 U.S.C. § 1441(a). (See Exhibit A.)
       6.      Venue is proper in this district under 28 U.S.C. §1441(a) because this district and
division embrace the place where the removed action has been pending.
       7.      Plaintiff’s Complaint does include a demand for a jury trial.
       8.      Defendant will promptly file a copy of this Notice of Removal with the clerk of
the State Court where the action has been pending.
       Having fulfilled all statutory requirements, Defendant Aargon Agency removes the action
pending in the Circuit Court of St. Louis County, Missouri to this Court and requests that this
Court assume full jurisdiction over this action and permit this action to proceed before it.




Dated: December 3, 2018                                       Respectfully Submitted,

                                                              WATTS LAW GROUP, LLC

                                                              Attorneys for Defendant

                                                              By:/s/ PATRICK A. WATTS
                                                              Patrick A. Watts, #61701
                                                              212 S. Bemiston Avenue, Suite 200
                                                              St. Louis, Missouri 63105
                                                              pwatts@swattslaw.com
                                                               (314) 669-5490
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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served via the Court’s

ECF filing system and via electronic mail pursuant to 28 U.S.C. §1446(d), on this 3rd day of

December, 2018 to:


Richard A. Voytas, Jr., #52046
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                                                            By:/s/ Patrick A. Watts
